                                                                                                                               027,21*5$17('


                                 IN	  THE	  UNITED	  STATES	  DISTRICT	  COURT	  
                                        MIDDLE	  DISTRICT	  OF	  TENNESSEE	  
                                               NASHVILLE	  DIVISION	  
                                                                	  
                                                                	  
 UNITED	  STATES	  OF	  AMERICA	  	         	       )	  
 	     	          	      	          	       	       )	        NO.	  	  3:11-­‐CR-­‐00012-­‐6	  
 v.	   	          	      	          	       	       )	        	  
                                                          )	        JUDGE	  SHARP	  
 SHATIKA	  DIX	   	      	          	       	       )	  
 	  
 	  
                                             MOTION	  TO	  STRIKE	  NOTICE	  	  
 	  
        Defendant,	   through	   counsel,	   moves	   this	   Court	   to	   allow	   defendant	   to	   strike	   her	  

 Notice	  of	  intent	  to	  change	  plea	  (Docket	  No.	  1404).	  In	  support,	  defendant	  would	  show:	  	  

              1.	       Defendant	   was	   initially	   charged	   by	   complaint	   on	   December	   09,	   2010	   and	  

 indicted	  on	  January	  12,	  2011,	  charged	  in	  one	  count.	  	  Defendant	  is	  indigent,	  and	  undersigned	  

 counsel	   has	   been	   appointed	   by	   this	   Court	   to	   represent	   her	   (Docket	   Nos.	   2,	   81-­‐83,202).	  

 Defendant	   is	   the	   single	   mother	   of	   two	   small	   children	   and	   has	   never	   been	   convicted	   of	   a	  

 crime.	  	  

 	           2.	       	  On	   April	   17,	   2013	   defendant	   filed	   a	   notice	   informing	   the	   Court	   that	   she	  

 intended	  to	  change	  her	  plea	  and	  enter	  a	  plea	  of	  guilty	  to	  the	  indictment	  filed	  on	  January	  12,	  

 2011	  (Docket	  No.	  1404).	  	  Defendant	  had	  no	  agreement	  with	  the	  government	  and	  intended	  

 to	   plead	   open	   to	   the	   only	   count	   against	   her.	   Defendant	   is	   safety	   valve	   eligible,	   working,	   and	  

 raising	   her	   children.	   She	   has	   had	   no	   problems	   on	   pre-­‐trial	   release	   since	   her	   indictment	   in	  

 2011.	  

              3.	       With	   notice	   of	   defendant’s	   intent	   to	   change	   her	   plea	  the	   government	   sought	  

 and	   obtained	   a	   superseding	   indictment	   that	   charges	   her	   with	   two	   additional	   counts.	  	  

 Defendant	  is	  now	  charged	  with	  three	  crimes,	  instead	  of	  one,	  for	  the	  exact	  conduct.	  	  




Case 3:11-cr-00012                       Document 1498                      Filed 05/07/13                  Page 1 of 1 PageID #: 7129
